2500A (12/15)

                         UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF WASHINGTON

In re:                               )              Case No. 21-00141-WLH11
EASTERDAY RANCHES, INC., et al.,     )
                        Debtor(s)    )              Adv. Proc. No. 21-80044-WLH
____________________________________ )
EASTERDAY RANCHES, INC. and          )
EASTERDAY FARMS,                     )
                        Plaintiff(s) )
   v.                                )              SUMMONS IN AN ADVERSARY
                                     )              PROCEEDING
RABO AGRIFINANCE LLC,                )
                        Defendant(s) )

YOU ARE SUMMONED and required to file a motion or answer to the complaint which is
attached to this summons with the clerk of the bankruptcy court within 30 days after the date of
issuance of this summons, except that the United States and its offices and agencies shall file a
motion or answer to the complaint within 35 days.

                Address of the clerk: United States Bankruptcy Court
                                      Eastern District of Washington
                                      PO Box 2164
                                      Spokane, WA 99210-2164

At the same time, you must also serve a copy of the motion or answer upon the plaintiff's
attorney.
               Name and Address of Plaintiff's Attorney:
                                      Thomas A. Buford
                                      Bush Kornfeld LLP
                                      601 Union Street, Suite 5000
                                      Seattle, WA 98101

If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.

IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED
TO BE YOUR CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT
AND JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF
DEMANDED IN THE COMPLAINT.

Dated: June 29, 2021

                                                     Clerk, U.S. Bankruptcy Court


                                                     by: /s/ Tiffany James
                                                         Deputy Clerk


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